    Case 3:08-cv-00746-WWE Document 260 Filed 04/23/10 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT
BING WU, FENG CHUN GUAN, TINA WANG,                           :
GUI BIN CAI, JUN ZHANG, QIN PING YUAN,                        :     CIVIL ACTION NUMBER
JIN LU MA, ZHEN HAI HE, and BAO WEN TAN,                      :
                                                              :     3:08-CV-00746-WWE
       Plaintiffs,                                            :
                                                              :
       vs.                                                    :
                                                              :
CHANG’S GARDEN OF STORRS, LLC,                                :
CHANG’S GARDEN OF CT, INC,                                    :
LE SHIH CHANG, HSIANG I CHANG,                                :
                                                              :
       Defendants.                                            :     April 23, 2010

                              NOTICE OF BANKRUPTCY FILING
       Defendant Hsiang I Chang hereby gives notice to this Court and to all other parties to this

action that on April 23, 2010 defendant Hsiang I Chang filed a petition for Chapter 7 Bankruptcy

protection before the United States Bankruptcy Court for the District of Connecticut. A copy of the

Bankruptcy Notice is attached hereto. Consequently, pursuant to 11 U.S.C. § 362(a), this action

must be stayed until such time as the defendant’s bankruptcy petition is resolved either by discharge

or dismissal or relief from the automatic stay is obtained.



                                                DEFENDANT
                                                HSIANG I CHANG


                                          By:         /s/ Ct16851
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    Case 3:08-cv-00746-WWE Document 260 Filed 04/23/10 Page 2 of 2




                                         CERTIFICATION
         I hereby certify that on April 23, 2010, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of this Court’s electronic filing system and by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.

Michael J. Wishnie, Esq.
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                                                                 /s/
                                                       Christopher M. Harrington, Esq.




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